                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               COLUMBIA DIVISION


KAREN MCNEILL, ET AL                        )
    Plaintiffs,                             )       Case No. 1:18-cv-00033
                                            )        Judge Campbell/ Frensley
v.                                          )       Jury Demand
                                            )
COMMUNITY PROBATION                         )
SERVICES LLC. ET AL.                        )
     Defendants.                            )


                                            ORDER

       Pending before the Court is a Motion for Discovery (Docket No. 404) filed by the Plaintiffs

in this matter and a Motion to Substitute Party (Docket No. 410). During the pendency of these

motions the Court entered an Order GRANTING in part, and DENYING in part, the PSI

Defendants’ Renewed Motion For Summary Judgment (Docket No. 363). Docket No. 417.

       By March 12, 2021, the Parties shall file supplemental pleadings indicating what, if any

impact the Court’s Order on the Renewed Motion for Summary Judgment has upon the two

pending motions to substitute party and for discovery.

       IT IS SO ORDERED.



                                                    JEFFERY S. FRENSLEY
                                                    U. S. Magistrate Judge




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